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                       Exhibit D
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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

      ARTURO DeLEON-REYES,                      )
                                                )
                   Plaintiff,                   )        Case No. 18-CV-01028
                                                )
       v.                                       )        Honorable Steven C. Seeger
                                                )        District Judge
      REYNALDO GUEVARA, ET. AL.                 )
                                                )
                     Defendants.                )


      GABRIEL SOLACHE,                          )
                                                )
                   Plaintiff,                   )        Case No. 18-CV-02312
                                                )
       v.                                       )        Honorable Steven C. Seeger
                                                )        District Judge
      CITY OF CHICAGO, ET. AL.                  )
                                                )
                     Defendants.                )

            DEFENDANT CITY OF CHICAGO’S DAUBERT MOTION TO BAR
                       OPINIONS OF ANTHONY FINNELL
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                                        INTRODUCTION

       Plaintiffs retained Anthony Finnell to provide opinion testimony about the Chicago Police

Department’s (“CPD”) supervision and disciplinary practices in support of their Monell claims.

Specifically, “to render an opinion as to the City of Chicago’s policies, procedures, and practices

as they related to the training, supervision and discipline of officers, and their relationship to the

disciplinary histories and conduct of the Defendant Officers, as it relates to the 1998 wrongful

conviction of Plaintiffs Reyes and Solache,” stemming from their 1998 arrests. Finnell has two

global opinions. First, Finnell opines that “[t]he Chicago Police Department and the Defendant

City of Chicago engaged in a widespread pattern and practice that condoned unlawful,

unreasonable, and improper law enforcement practices.” (See, Finnell's Report attached hereto as

Ex. A at p. 10). Second, Finnell opines that “[t]he Chicago Police Department’s and the Defendant

City of Chicago’s failure to discipline and supervise Defendants created a sense of impunity and

facilitated, encouraged, and allowed abuses.” (Ex. A at p. 69).

       Finnell’s opinions should be barred entirely as 1) he is not qualified to provide them; 2)

they are nothing more than inferences that lack a foundation, and when tested, do not withstand

scrutiny; 3) are not based on a reliable methodology, or any methodology for that matter, and

instead are based upon assumptions as well as data and information curated and provided to him

by Plaintiffs’ counsel and cannot be replicated; and 4) are not relevant.

                                         BACKGROUND

       Finnell was first hired to provide Monell opinions regarding the City of Chicago and the

Chicago Police Department, (“CPD”) by one of Plaintiffs’ law firms in September 2021, in the

matter of Velez v. City of Chicago (a case that does not involve Defendant Guevara). (See, Finnell’s

September 22, 2022, Deposition attached as Ex. B at 86:8-13). Subsequently, he has provided
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nearly identical opinions regarding the City’s policies and practices, relying upon two separate

datasets, in five separate cases involving Defendant Guevara, Sierra, Iglesias, Rodriguez, Gomez 1,

and the underlying case.

         Finnell’s report, and the opinions contained therein, rest nearly entirely upon the

“spreadsheet” created by Plaintiffs’ counsel and provided to Finnell based upon information

gathered from hundreds of Complaint Register files, (“CR Files” or “CRs”) that included

allegations made against detectives assigned to Area 5 during the period of 1995-1998. (Ex. A at

9). Plaintiffs’ legal team distilled the data from the hundreds of CR Files into the spreadsheet that

constitutes the dataset. (See, Ex. B at 178:19-179:2). Finnell does not know who prepared the

dataset, how many people were involved in the preparation of the dataset, or the background or

credentials of those involved in the preparation of the dataset. (Ex. B at 179:5-180:4)

         At Plaintiffs’ request to support his Monell claim in this case, the City produced 349 CRs

that included complaints against detectives assigned to Area Five during the 1995-1998 time period

that were initiated between 1995-1998. (Ex. B at 176:16-19). In addition, the City produced the

career CR files for each of the Defendants Officers. (Ex. A at 9). Finnell was also provided the

349 CR files produced by the City. (Ex. A at 9). In preparing his report, Finnell enlisted the

assistance of Timothy Knight and Miroslava Meza. (Ex. A at pp. 4-5). Finnell relied on the

quantitative 2 statistical analysis and tables generated by Meza to support his opinions. (Ex. A at p.

9; Ex. B at 186:12-17). Finnell relied on Knight for the “qualitative analysis of the historical




1
  Notably, despite disclosing Finnell in Gomez v. Guevara, after Finnell was deposed for the third time,
plaintiff Gomez opted to withdraw his opinions entirely the day before his previously confirmed deposition.
2
  Finnell defines “quantitative analysis” as taking the data that is within the CR files or within the excel
spreadsheet and looking for various components or outcomes. (See Finnell’s January 13, 2023 Deposition
in Sierra v. Guevara, et. al, attached hereto as Ex. C at 57:5-16)


                                                     2
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context, and cases relevant to this inquiry in support of [his] views.” (Id.) Knight and Meza did

not sign the report and were not disclosed as experts by Plaintiffs. (Ex. A at p. 80).

        The statistical analysis and tables generated by Meza that are included in Finnell’s report

includes the “analysis of dataset 3 provided by Plaintiff’s legal team” which Finnell attached to his

report as Appendix A. (Ex. A at p 9; Ex. B at 186:12-17). There are 20 tables and several figures

which purport to distill and analyze the information contained within the spreadsheet. Each of

these tables and/or figures are used to support certain statistical conclusions, which Finnell then

used to support a multitude of sub-opinions, and ultimately serve as the basis for Finnell’s two

global opinions. Yet, Finnell does not know what type of statistical software Meza used or even

how Meza created the tables and graphs that are contained within his report. (Ex. B at 121:2-

122:5). Moreover, Finnell relied entirely on Meza’s determination that the sample size was

statistically significant in order to render an opinion, but he does not know how she made that

determination. (Ex. B at 193:4-194:1; 199:14-200:16; 319:15-20).

        Under the heading “Defendants Escaped Accountability” at page 78 of his report, Finnell

opines that Defendants Guevara and Halvorsen escaped accountability throughout their careers

because of the lack of supervisory oversight, inadequate investigations, and inadequate discipline,

and this lack of accountability “continued” through and after the criminal investigation that led to

Plaintiff’s arrest. (Ex. A at 78). However, this opinion appears to be based entirely on Knight’s

qualitative analysis of the historical information and analysis. (See generally, Ex. A; Ex. D).

Finnell describes qualitative analysis as the review of documents to identify “themes, patterns and

phrases” that allow officer misconduct and “are relevant to Plaintiffs’ claims.” (Ex. B at 228:17-229:1).

Against this backdrop, Finnell states that the CRs that Guevara and Halvorsen received “contained


        3
          Throughout Finnell’s report and testimony, he refers to the spreadsheet provided to him as the
“dataset.”


                                                   3
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similarly themed allegations and patterns throughout their career” and that they were “sued many

times based on similarly themed allegations and patterns.” (Ex. A; Ex. B at 228:17-229:11). Yet,

no where in his report does Finnell describe what methodology, if any, Knight used to conduct this

research, or identify the results of this research. (Ex. A, generally). Additionally, Finnell does not

have any training in conducting qualitative analysis. (Ex. D).

                                     DAUBERT STANDARD

       “The admissibility of expert testimony is governed by Federal Rule of Evidence 702 and

the Supreme Court’s opinion in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579

(1993). Lewis v. CITGO Petroleum Corp., 561 F. 3d 698, 705 (7th Cir. 2009). Trial judges act as

gatekeepers to screen expert evidence for relevance and reliability. Daubert, 509 U.S. at 589; see

also C.W. ex. rel. Wood v. Textron, Inc., 807 F.3d 827, 934 (7th Cir. 2015). Under Rule 702, a

“witness who is qualified as an expert by knowledge, skill, experience, training, or education may

testify in the form of an opinion” if: (a) the expert’s scientific, technical, or other specialized

knowledge will help the trier of fact to understand the evidence or to determine a fact in issue; (b)

the testimony is based on sufficient facts or data; (c) the testimony is the product of reliable

principles and methods; and (d) the expert has reliably applied the principles and methods to the

facts of the case. Fed. R. Evid. 702. As recently emphasized by the Advisory Committee Notes

to the 2023 Amendments to Rule 702, “[j]udicial gatekeeping is essential because just as jurors

may be unable, due to lack of specialized knowledge, to evaluate meaningfully the reliability of

scientific and other methods underlying expert opinion, jurors may also lack the specialized

knowledge to determine whether the conclusions of an expert go beyond what the expert’s basis

and methodology may reliably support.” Fed. R. Evid. 702, Advisory Committee Notes, 2023

Amendments. The Court should “scrutinize proposed expert witness testimony to determine if it




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has the same level of intellectual rigor that characterizes the practice of an expert in the relevant

field so as to be deemed reliable enough to present to a jury.” Lapsley v. Xtek, Inc., 689 F.3d 802,

805 (7th Cir. 2012) (internal quotations omitted).

       The Court utilizes a three-part analysis when applying the Daubert framework to proposed

Rule 702 evidence. The Court determines (1) “whether the witness is qualified;” (2) “whether the

expert’s methodology is scientifically reliable;” and (3) “whether the testimony will assist the trier

of fact to understand the evidence or determine a fact in issue.” Myers v. Illinois Cent. R. Co., 629

F.3d, 644 (7th Cir. 2010) (internal quotations omitted); see also Gopalratnam v. Hewlett-Packard

Co., 877 F.3d 771, 779 (7th Cir. 2017). The proponent of the expert bears the burden of

demonstrating that the testimony would satisfy the Daubert standard by a preponderance of the

evidence. Gopalratnam, 877 F.3d at 782; see also Fed. R. Evid. 702 advisory committee’s note to

2000 amendment.

                                               ARGUMENT


  I.   FINNELL LACKS THE QUALIFICATION TO RENDER THE OPINIONS
       CONTAINED IN HIS REPORT.

       Finnell is not qualified to opine about the disciplinary policies and practices of CPD. In

analyzing the reliability prong of the Daubert analysis, “the role of the court is to determine

whether the expert is qualified in the relevant field and to examine the methodology the expert

used in reaching his conclusions. Saad v. Shimano Am. Corp., 2000 WL 1036253 (N.D. Ill. 2000).

While an expert may be qualified by “knowledge, skill, experience, training, or education[]”

Finnell has none of the qualifications necessary to opine on CPDs disciplinary policies and

practices of during the 1995-1998 time period. Fed. R. Evid. 702. Specifically, Finnell is not

qualified to opine about whether CPD engaged in a “widespread pattern or practice that condoned




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unlawful, unreasonable and improper law enforcement practices” or that the “Chicago Police

Department” had a “failure to discipline and supervise Defendants” which “created a sense of

impunity and facilitated, encouraged, and allowed abuses” during the 1995-1998 time period.

       Finnell was a sworn member of the Indianapolis Metropolitan Police Department (“IPD”)

for the majority of his professional career. (See, Finnell’s CV attached hereto as Ex. D). He started

his career in 1989 as a patrol officer and retired in 2013. (Ex. E). He held no police oversight

positions while at IPD. (Ex. D; Ex. B at 30:3-7). After he retired from IPD he joined the

Independent Police Review Authority (“IPRA”) 4 where he investigated and recommended officer

discipline. He left IPRA a short time later and took an oversight position in Oakland (from which

he was fired) and then another in Seattle where he left in 2022 under a cloud after an outside

investigation determined that there were “troubling patterns” in his certification procedures.

Despite the years Finnell spent employed at police oversight agencies after retiring from IPD,

Finnell lacks the “knowledge, skill, experience, training, or education” that qualifies him to opine

in the field of police oversight during the relevant time frame in this case. Moreover, Finnell

concedes he has none of the requisite “knowledge, skill, experience, training, or education” that

would qualify him to render opinions in the areas of qualitative or quantitative analysis, which

provide the purported foundations for the opinions set forth in his report and none of the requisite

expertise to opine on any statistical comparisons between the sustained rates within CPD and any

other similarly sized police department in the United States. (Ex. D).

           a. Finnell does not have the requisite knowledge, skill and experience necessary
              and has no training or education that qualifies him to opine on CPD’s
              disciplinary policies and practices.




4
 IPRA was the name of the City of Chicago’s police oversight agency at the time Finnell was employed by
the City of Chicago.


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       Finnell retired from the IPD in April 2013, as a Sergeant within the Community Affairs

Branch of the department. (Ex. D). Prior to his retirement, he held several different positions

within the department, including as a patrol officer, a homicide and robbery investigator, and a

neighborhood resource officer. (Ex. D). However, none of these various positions within the

department involved police oversight, investigating police misconduct or implementing officer

discipline. (Ex. D; Ex. B at 30:3-7). Rather, his first position working with police oversight was

when he was hired by the IPRA in Chicago in April 2013. (Ex. D). There, he worked as a

Supervising Investigator for approximately fourteen months, where he was tasked with supervising

five individual investigators of various levels. (Ex. B at 36:8-16). This fourteen-month stint at

IPRA is Finnell’s only direct experience with officer misconduct and discipline.

       In July 2014, Finnell left IPRA and was hired by the Citizen’s Review Board in Oakland,

California, which was later re-named to the Community Police Review Agency. (Ex. D; Ex. B at

28:15-29:2). A simple review of his CV shows that none of his duties involved investigating police

misconduct or implementing officer discipline.       (Ex. D).   In November 2018, Finnell was

terminated after the police commission voted to remove him from the position. (Ex. B at 49:7-

16). According to Finnell, the termination resulted from a dispute between Finnell and the police

commission regarding the release of police misconduct investigative files. (Ex. B at 49:17-50:9).

In April 2019, Finnell was hired by the Office of the Inspector General for Public Safety (“OIG”)

in Seattle, Washington, where he worked as an auditor and then a Strategic Initiatives Lead for

approximately three years before he resigned while under investigation for his failure to thoroughly

review findings issued by the Office of Police Accountability (“OPA”) before issuing full

certifications. (See, OIR Group Report, attached hereto as Ex. E).




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       Specifically, as an auditor for the OIG, Finnell was responsible for reviewing investigations

conducted by the OPA into allegations of officer misconduct, including complaints of unnecessary

use of force, and certifying and/or approving the findings. (Ex. D; See, South Seattle Emerald,

“OIG Auditor Certified Cases Without Reviewing Evidence, Investigation Reveals, November 8,

2021, attached hereto as Ex. F). However, in August 2020, less than a year after he began his

employment with the OIG, concerns were raised about the quality of Finnell’s work, which

resulted in him being given a different assignment within the OIG. (Ex. F). Subsequently, it was

discovered that Finnell failed to review body-worn video in cases that had been certified, which

resulted in a systematic audit of case review logs and the discovery of a widespread problem with

Finnell’s work product. (Ex. F). As a result, the OIG engaged an outside agency, the OIR Group,

to conduct an “examination of the concerns about the work performance of current and former

individuals who had been assigned to the investigative auditing function of the office.” (Ex. F).

       The OIR Group found that Finnell’s work on 34 specific cases that the OIR Group reviewed

was not “sufficiently rigorous to be able to fairly make certification decisions.” (Ex. F at 14).

Specifically, their investigation found that in the 34 cases Finnell reviewed officers’ body-worn

cameras were not viewed, and only a small handful of documents were accessed, and cases with

“sizeable quantities of evidence” were certified in as few as “10-15 min after [Finnell] first

accessed the case.” (Ex. E at p. 14). When interviewed by the OIR, Finnell acknowledged that

reviewing body-worn video would have been proper, but that he possessed “a level of experience

to make it possible to review cases [] succinctly and still fairly judge thoroughness and objectivity.”

(Ex. E at p. 14). The OIR Group specifically disagreed, finding that there were no circumstances

where a complaint about an officer’s use of force, or any misconduct allegation, could be resolved

with such “limited review.” (Ex. E at p. 14).




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       Finnell resigned three days after Seattle’s OIG received the final report of investigation

from the OIR Group, which found that Finnell had “troubling patterns of very quick certifications

following review of few documents or other pieces of evidence.” (Ex. E at p. 13). This

“include[ed] complaints about unnecessary use of force, complex cases with substantial amounts

of evidence, allegations made about supervisory conduct, and a high-profile case that generated

significant media coverage.” (Ex. E at p. 13). In short, the OIR Group’s investigation determined

that Finnell failed to conduct even the most basic of reviews into high profile cases at a time when

there was immense public scrutiny on police and police oversight. Instead, he deemed himself to

have a level of experience that made such a review unnecessary.

       Since his resignation from the Seattle’s OIG, Finnell’s only employment and source of

income has been his consulting business, which he formed in early 2020. (Ex. B at 9:8-13). Since

that time, he has provided expert opinions and testimony almost entirely for the law firm of Loevy

& Loevy, as well as some other consulting work that has not resulted in written reports and oral

testimony. (Ex. B at 13:15-20; 15:16-23).

       Finnell’s “experience” demonstrates that Finnell lacks the knowledge, skill, experience,

training or education to opine on the disciplinary policies that were in place within CPD from

1995-1998. The first position Finnell held in the area of police oversight was in 2013, fifteen years

after the relevant time period that he was purportedly “analyzing” in this case. He has no formal

training in the field of police oversight. (Ex. D). And while he purports to have reviewed CPDs

“policies, procedures and practices as they related to the training, supervision, and discipline of

officers,” he could not articulate or identify what policies or training materials those were. (Ex. B

at 154:7-24). Finnell has not conducted any research into the area of police oversight and

discipline, and he has no publications that pertain to these issues. (Ex. D). And while he spent a




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little over a year working at IPRA, Finnell admits that his purported “historical understanding of

CPD’s disciplinary systems” came from general conversations with other employees. (Ex. B at

136:7-138:13). This “general knowledge” does not provide the requisite qualification to opine on

the policies and practices of the entire department from the 1995-1998 period. Moreover, despite

securing employment in two different oversight agencies after the one year he spent at IPRA, he

seemingly gained no relevant experience from either job, since he was fired from one and

essentially forced to leave from the other because his work product and investigative tactics were

called into question.

           b. Finnell has no knowledge, skill, experience, training, or education in statistical
              analysis and therefore is not qualified to render any opinions based on
              statistical analysis.

       Likewise, Finnell is not a statistician, and by his own admission, does not have any

statistical background to allow him to explain or defend the statistical analysis and conclusions set

forth in his report. (Ex. B at 186:18-19; 433:14.) Finnell readily admits that large portions of his

report pertaining to the statistical methods used were provided to him by Meza, and that he played

no role in the analysis. (Ex. B at 465:9-22; 466:2-6). In fact, Finnell admits that the analysis of

the “dataset” was done entirely by Meza, and that she used that analysis to generate the tables and

graphs within the report. (Ex. A p. 8). As outlined supra at pg. 3, Finnell’s report includes 20

separate tables, each of which claims to distill certain subsets of information from the dataset. (Ex.

A at pp. 31-34, 39-46, 48-49, 60, 61-63, 66, 70-78, 81-83). Finnell relies on Meza’s tables to

support his various sub-opinions which form the building blocks of his two global opinions.

       Yet Finnell is unable to validate any of the data contained within any of the tables, graphs

or figures which serve as the basis of his ultimate conclusions. In fact, when asked about basic

elements of the tabulations, such as “how many CR files” were included in the “unknown”




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category of Table 1 (at p. 30), the basis for concluding that the annual reports referenced individual

investigations 5, or how his “outlier analysis”, discussed more fully infra at p. 16, 22-23, was

conducted, he could not answer. (Ex. B at, 204:9-205:20; 346:20-347:8). Rather, he indicated that

he would need to discuss those questions with Meza. (Ex. B at 205:15-20). Plaintiff did not

disclose Meza as an expert and it is clear that Finnell is not qualified to provide any opinions based

upon the statistical analysis contained within his report thus the opinions must be barred.

            c. Finnell has no knowledge, skill, experience, training, or education in
               qualitative analysis and therefore is not qualified to render any opinions based
               on qualitative analysis.

        Finally, Finnell has no background in qualitative analysis that would allow him to explain

or defend any of his opinions based upon the qualitative analysis of the purported historical

information or cases analyzed in his report. (Ex. D). Finnell concedes that he relied on Knight for

the “qualitative analysis of the historical context, and cases relevant to this inquiry in support [his]

views.” (Ex. A at p. 9). Finnell’s report does not describe how he employed this qualitative

assessment or analysis, nor does it include the results of Knight’s research. When asked during

his deposition what “qualitative analysis” he was referring to, he stated it was the “review” and

“coding” of documents such as “new articles, reports, and other written material[,]” to identify

“themes, patterns, phrases, that allow officer misconduct and are relevant to Plaintiffs’ claims.”

(Ex. B at 228:17-229:1). Finnell relies on this “analysis” and “themes” in support of his ultimate

finding that the defendants in this case “escaped accountability” and “benefited from a legacy of

abusive de facto polices within the department. (Ex. A at 78). Plaintiff did not disclose Knight as




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 This is particularly telling given Finnell’s admission that the CPD annual reports documented the “primary
allegation” and that the CR counts do not include “additional allegations” that may have been associated
with each CR. (Ex. A at. 321:2-14).


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an expert and it is clear that Finnell is not qualified to provide any opinions based upon the

qualitative analysis contained within his report thus the opinions must be barred.

 II.   FINNELL HAS NO FOUNDATION TO PROVIDE THE OPINIONS CONTAINED
       WITHIN HIS REPORT

       In performing its gatekeeping function, the Court must ascertain not just whether “an expert

witness is qualified in general, but whether his qualifications provide a foundation for [him] to

answer a specific question. Gayton v. McCoy, 593 F.3d 610, 616 (7th Cir. 2010), quoting Carroll

v. Otis Elevator Co., 896 F.3d 210, 212 (7th Cir. 1990). And when an expert bases his opinion on

information supplied by another, the Court must focus on the reliability of the expert’s foundation.

See Loeffel Steel Prods. V. Delta Brands, 372 F.Supp.2d 1004, 1119 (N.D. Ill. 2005). Contrary to

Daubert’s requirement that expert testimony “rest[] on a reliable foundation,” Finnell’s opinions

are entirely based upon data and information supplied to him by others, including Plaintiffs’

counsel.

           a. Finnell has no foundation to opine on the “historical context” of CPD.

       Finnell opines that CPD engaged in a “widespread pattern and practice that condoned

unlawful, unreasonable, and improper law enforcement practices” based upon his purported review

and analysis of the “historical context” of policing in the City of Chicago. (Ex. A at 11). However,

Finnell did not conduct any of his own academic research on policing in general, and his

knowledge about CPD is primarily based upon his fourteen months working at IPRA, and certain

anecdotal information provided to him by others. Rather, Finnell admits that he asked Knight to

“conduct an analysis of the literature and [] the reports” and was not aware of how that process or

analysis worked. (Ex. C at 195:15-18).

       Finnell dedicates 17 pages of his report recounting what he deems the “historical context”

of allegations of abuse in the form of “fabrication of evidence” which he opines lead to “wrongful



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arrests and convictions.” (Ex. A at 11). Each of these specific examples purport to support his

ultimate opinion that that the CPD engaged in a “widespread pattern and practice that condoned

unlawful, unreasonable, and improper law enforcement practices.” (Ex. A at 10). Yet, for the

majority of these purported historical examples, Finnell has no independent knowledge or

understanding of the underlying facts or the resources and references cited within his own report.

       By way of example, Finnell begins this section by discussing what he deems the “Pre-

Guevara: The Jon Burge Era, 1972-1991” which relies heavily on a law review article written by

G. Flint Taylor. (Ex. A at 12 fn. 7). G. Flint Taylor is the founding partner of The People’s Law

Office, a plaintiff’s law firm who represented several men in their civil lawsuits against Jon Burge,

including Andrew Wilson. (See, People’s Law Office Website Bio, attached hereto as Ex. G).

What’s more, the People’s Law Office represents Plaintiff Solache in this matter, in which Finnell

provided his expert report. (Ex. B at 234:1-5). Not only was he unaware of who he was citing,

but he testified that it is not inappropriate to rely on such material, (Ex. B at 324:11-17), even

though it is “assumed that counsel is supposed to give evidence a partisan slant.” Philips Medical

Systems Intern. B.V. v. Bruetman, 8 F.3d 600, 606 (7th Cir, 1993)(Posner, J), (Ex. B at 234:1-

235:18). Relying on a law review article written by an attorney who not only represents one of

the Plaintiffs in the case wherein you have been retained, but also the attorney who represented the

plaintiffs whose cases you seek to summarize is “incompatible with the neutrality and

evenhandedness” necessary to have the reliability that Daubert demands. Sommerfield v. City of

Chicago, 254 F.R.D 317, 322 (N.D. Ill. 2008). “The roles of attorney and witness usually are

incompatible, a witness is supposed to present the facts without a slant, while an attorney’s job is

to advocate a partisan view of the significance of the facts. One person trying to do both things is




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apt to be a poor witness, a poor advocate, or both.” Gusman v. Unisys Corp., 986 F.2d 1146, 1148

(7th Cir. 1993).

        Finnell continues this pattern of reliance on inherently biased material through his

discussion of the civil case of Wilson v. City of Chicago, which again, was handled by the People’s

Law Office. While Finnell cites to a Seventh Circuit opinion rather than the law review article, he

lacked even the most basic understanding of the opinion from which he quotes, and admits that he

did not fully review the opinion or the CR which served as the basis for Andrew Wilson’s

allegations. (Ex. B at 238:6-18; 139:16-20; 241:8-20).

        Finally, Finnell testified that despite opining in his report that “the City’s Practice of False

Statements Was Further Revealed in FBI 302s” related to the FBIs and CPDs investigation into

former Chicago police officer Joe Miedzianowski, he conceded that he had no knowledge of the

scope of the FBI and CPD’s investigation into Miedzianowski. (Ex. B at. 171:23-172:5). He did

not request, nor was he provided, any materials, including the FBI materials related to the FBI 302

that he referenced in his report. (Ex. B at 172:6-11).

        Finnell failed to even familiarize himself with purported supporting material. Rather,

Finnell seems to have uncritically relied solely on the information provided to him by Plaintiffs’

counsel and distilled by Knight. This “historical context” is simply a roadmap of Plaintiffs’ cases

and evidence that their counsel has identified as support for their claims, which does not provide

a reliable foundation upon which Finnell can state his opinions. Therefore, any opinions derived

from the “historical context” section must be barred. See e.g., Obrycka v. City of Chicago, 492 F.

Supp. 2d 1013, 1025 (N.D. Ill. 2011)




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           b. Finnell has no foundation to opine on CPD’s “sustained rate” in comparison
              to other departments.

       Finnell opines that CPD’s sustained rates for all complaints fell “well below” the national

average, indicating that CPD had a “deeply flawed system of investigating and disciplining serious

police misconduct.” (Ex. A at p. 30). Finnell bases his opinion, in part, on a federal survey to

establish the proposition that “8 percent of the use of force complaints received by large state and

local law enforcement agencies in 2002 were sustained.” (Ex. A at 30). However, Finnell has no

foundation to espouse this opinion given his admission that he did not examine any national

averages from the time period of this case, and that there is “no standardization of data collection

for agencies and units tasked with investigating officer misconduct across the country.” (Ex. A at

p. 30; Ex. B at 373:15-375:8; 376: 6-15).

       In fact, Finnell admits that when comparing CPD’s purported “sustained rate” (which, as

explained below, is problematic in and of itself), to the survey, he chose to compare CPD to the

8% rate identified in the survey, not the appropriate 6% rate for large law enforcement agencies,

as he should have. (Ex. B at 340:20-341:2; See, Bureau of Justice Statistics Special Report; Citizen

Complaints about Police Use of Force, attached as Ex. H at 3). He further testified that he agreed

citizen complaints data must be interpreted with caution due to the differences in how agencies

receive, process and record complaints, as well as the various influences on the citizen’s decision

whether to file a complaint. (Ex. B at 336:20-338:4; Ex. H at p. 4). Finally, Finnell agreed that

even the meaning of “complaint rate” is not entirely clear because a low force complaint rate could

mean that police are performing well or that the complaint process is inaccessible; likewise, a high

force complaint rate could mean that officers use force often or that the complaint process is more

accessible. (Ex. B at 338:6-339:2; Ex. H at p. 4).




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       The above concessions by Finnell are enough to establish that he lacked even the basic

foundation to make such a comparison. Yet even if they were not, the author of the federal survey

upon which Finnell relied in forming his opinion made the point quite clear when he published a

follow up study, in which the author found that the Bureau of Justice Statistics Special Report data

did “not provide a valid and reliable basis for this kind of comparative analysis.” (See, National

Data on Citizen Complaints About Police Use of Force: Data Quality Concerns and the Potential

(Mis)Use of Statistical Evidence to Address Police Agency Conduct, attached hereto as Ex. I; Ex.

C at 130:21-132:12)

            c. There is no foundation for the statistical analysis in Finnell’s Report, including
               the Outlier Analysis.

       It is without question that Finnell did not conduct any of the statistical analysis contained

in his report. Rather, Finnell testified that Meza conducted the analysis of data distilled from the

349 CR Files in the spreadsheet. (Ex. B at 186:13-20). Finnell has no understanding of how the

information contained within the spreadsheet was complied. (Ex. B at 178:24-179:15). He does

not know who prepared the spreadsheet, how many people were involved, or the background or

credentials of those involved in the preparation of either spreadsheet. (Ex. B at 179:16-180:4).

Finnell and his “associates,” including Meza, spot-checked the spreadsheet by looking at random

CRs to make sure the information in the spreadsheet matched the information in the CR, but he

could not say how many he actually compared, or exactly which files Meza looked at. (Ex. B at

99:9-20).

       This renders his statistical analysis unreliable and justifies excluding his opinions that rely

on this information. See, State Farm Fire & Cas. Co. v. Electrolux Home Prods., 980 F. Supp. 2d

1031, 1049 (N.D. Ind. 2012). See also, Fail-Safe, LLC v. A.O. Smith Corp., 744 F. Supp. 2d 870,

887 (E.D. Wis. 2010)(stating that the defendant’s expert’s reliance on the defendant’s own data,



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which he did not independently verify, rendered his opinion unreliable); Braun Corp. v. Vantage

Mobility Int’l, LLC, 2010 WL 5287484, at *7 (N.D. Ind. June 21, 2010)(recommending exclusion

of the portions of the defendant’s expert’s opinion replying on a histogram prepared by the

defendant where the expert used it without verifying or reviewing the underlying information),

report & recommendation adopted, 2010 WL 5279974 (N.D. Ind. Dec. 17, 2010).

       Moreover, Finnell lacks the most basic understanding of the statistical methods used in his

report. He admitted that he had no idea how to do the calculations required in order to calculate

the outlier analysis. (Ex. B at 434:1-10). While an expert may rely on the work of assistants when

formulating an expert opinion, they cannot simply parrot the work actually done by another expert,

who is not offered for testimony and cross-examination. See generally Hi-Tech Pharms. Inc. v.

Dynamic Sports Nutrition, LLC., 2021 WL 2185699 (Georgia Northern District Court 2021). It is

clear here that Meza was more than a “gopher or data gatherer” and instead exercised her own

professional judgment that was beyond Finnell’s abilities. Dura Auto Sys. Of Ind., Inc. v. CTS

Corp., 285 F.3d 609, 612 (7th Cir. 2002).

III.   FINNELL LACKS A RELIABLE METHODOLOGY

       Even if Finnell was qualified to provide the opinions within his report, and if they were

supported by proper foundation, he lacks any reliable methodology. The Court must ensure that a

proposed expert’s methodology is “scientifically valid” and that his conclusions are ‘based on

sufficient facts or data.” Bogathy v. Union Pac. R.R., 2020 No. 17-CV-4290, 2020 WL 419406, at

*4 (N.D. Ill. Jan. 24, 2020). The proponent of the expert bears the burden of demonstrating that

the expert’s testimony would satisfy the Daubert standard.” Lewis v. CITGO Petroleum Corp.,

561 F.3d 698, 705 (7th Cir. 2009).




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       Relying on Meza’s statistical analysis of the spreadsheet, Finnell’s report renders multiple

sub-opinions, including that the City of Chicago had a “pattern and practice of fabricating

evidence,” (Ex. A at 29), CPD routinely failed to “thoroughly investigate, supervise and discipline

officers in a timely manner,” (Ex. A at 37), “CPD’s accountability system had no mechanism to

detect and respond to officers with a high number of complaints,” (Ex. A at 59), “the structure of

CPD’s review system unduly delayed accountability,” (Ex. A at 60), “CPD’s accountability system

routinely failed to detect or discipline fabrication of eyewitness identifications and misconduct

during eyewitness identification procedures,” (Ex. A at 66), and CPD’s “failure to address Rule 14

allegations, the CPD and the City of Chicago condoned a code of silence.” (Ex. A at 68). Each of

these sub-opinions provide the basis for Finnell’s global opinion that the City of Chicago’s “failure

to discipline and supervise Defendants created a sense of impunity and facilitated encouraged and

allowed abuse.” (Ex. A at 69). However, as discussed at length supra, Finnell did not conduct any

of the statistical analysis contained within the report. Rather, he consistently testified throughout

his deposition that Meza conducted the analysis and generated the tables and graphs that are

contained therein. (see e.g. Ex. B at 186:12-17).

       Despite his complete reliance on her work product, Finnell does not know what

methodology Meza used to create the tables and graphs that are used in his report. (Ex. B at 121:2-

122:5). And when asked questions about the methodology, e.g. how she decided to count data

points, he repeatedly testified that he would have to consult with Meza to answer the question.

(Ex. C at p. 105:12-20). And while he expected her to use “sound” methodology in conducting

her analysis, particularly her outlier analysis, he testified that he had “no idea” if there were other

methodologies that that would have been better. (Ex. C at 226:20:227-6; 229:2-7).




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           a. There is no reliable evidence to support Finnell’s purported sustained rates.

       Much of Finnell’s opinion rests on his comparison of CPD’s “sustained rates” to what he

purports to be a national average. (Ex. A at 30). Specifically, Finnell’s report opines that CPD had

a sustained rate of 8% for all types of complaints; and a sustained rate of 4.7% for excessive force

complaints. (Ex. A at 30). From there, Finnell opines that each of these sustained rates are below

national average, and therefore CPD had a “deeply flawed system” of discipline. (Ex. A at 30).

Finnell’s opinions are not admissible unless Plaintiffs can demonstrate by a preponderance that

they are based on sufficient facts and data and that he applied reliable principles and methodology.

Fed. R. Evid. 702; Gopalratnam v. Hewlett-Packard Co., 877 F.3d 771, 780 (7th Cir. 2017). Even

where an expert is well-qualified by experience, “an expert cannot reply on data of unknown

reliability.” See Loeffel Steel Prod., Inc. v. Delta Brands, Inc., 372 F. Supp. 2d 1104, 1119 (N.D.

Ill. 2005). All Finnell’s sub-opinions that rely on the City’s purported “sustained rate” depend

entirely on the assumption that the facts and data supporting the City’s purported sustained rates

are accurate, reliable, and trustworthy, such that the sustained rates are what he reported them to

be. Because that assumption is unsupported, and, in fact, as explained below, demonstrably false,

the methodology is flawed and does not bear the indicia of reliability worthy of admission.

Gopalratnam, 877 F.3d at 786 (excluding expert testimony based on faulty premise underlying

expert’s opinion).

       Finnell relied on Plaintiffs’ legal team to provide him with the data to determine the

purported sustained rate. If the coding procedure was trustworthy, then, at a minimum, the data

should not need to be altered for the analysis to be conducted. Here, in advance of statistically

analyzing the data, Finnell explained that Meza had to “remove duplicate entries within the

dataset” which resulted in different number of allegation counts. (Ex. B at 188:11-189:9). The




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mere fact that Meza had to review the spreadsheet, and “identify and remove” duplicates, shows

that the data is not reliable. But even if Meza’s strategy is methodologically sound, the work she

did to remove entries from the spreadsheet is not capable of replication. Caraker v. Sandoz

Pharms. Corp., 172 F. Supp. 2d 1046, 1047 (S. Dist. Ill. 2001)(“The hallmark of this reliability

prong is the scientific method, i.e., the generation of testable hypotheses that are subjected to the

real word crucible of experimentation, falsification/validation and replication.) Finnell is unable

to identify which entries were duplicates and removed, explain what else Meza did to the data or

to describe the process Meza implemented to remove duplicates and otherwise cleaned up the data.

(Ex. B at 191:17-192:20). He could not even explain what she did to the spreadsheet, or confirm

whether he was provided with a spreadsheet after she removed “duplicates.” (Ex. B at 269:16-

270:23). In fact, Finnell testified that the only person who could possibly answer questions about

what exactly was done to alter the spreadsheet, was Meza, and he wasn’t even sure if she could

replicate her work. (Ex. B at 192:3-20).

       Because Finnell does not know what Meza did, cannot identify any of the changes she

made to the spreadsheet, cannot replicate the work himself and does not believe that Meza can

replicate the work, all of sub-opinions that rely on the spreadsheet that underlies any opinions

Finnell purports to proffer rely on unsound methodology and must be barred. Plaintiff has

provided no other source of proof to establish the purported “sustained rates” within CPD for

various complaints of misconduct. Where there is no affirmative proof of the facts underlying an

expert’s opinion, the testimony is excluded. Sommerfield v. City of Chi., 254 F.R.D. 317, 324-326

(N.D. Ill. 2008).




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           b. Finnell’s report and tables contain significant errors.

       During his deposition, Finnell admitted that his report contained significant errors.

Specifically, Finnell testified on the first day of his deposition that while preparing for his

deposition, he noticed errors in Table 17. (Ex. B at 193:8-195:24). Rather than including the

correct data from the CPD Annual reports, Finnell testified that he included numbers from “another

report” that he was working on (that he could not identify), and that the numbers in column three

(“CPD Annual Report, Complaint, Received Count) did not belong in this report at all. (Ex. B at

195:18-24); Ex. A at 81-82). Finnell testified that the error was innocuous and did not alter his

ultimate conclusions. (Ex. B at 198:23-200:3). However, this was not his only error, and

ultimately showed a consistent lack of understanding of the concepts for which he was testifying.

       Finnell’s report purports to compare the data he received from the 349 CR Files produced

to the City to the CPD Annual Report data from the years 1995-1998, and claims that the sample

is “at least 9.6% of all Complaint Register files” for the time period. (Ex. A at 9). However, this

opinion is based upon Finnell’s conflation of “CR files, individual investigations and allegation

counts.” Specifically, Finnell’s report breaks down the 349 CR files into 1,983 “individual

investigations,” which he defines as “the number of officers total that are accused within the 349

CRS,” and 2,150 “allegations,” which he defines as the total number of allegations that are found

within the 349 CRs.” (Ex. B at 180:13-16; 181:3-11). Finnell then used the “investigations and

allegation counts” as his datapoints to compare to the CPD Annual Reports. (Ex. B at 204:21-23).

       However, Finnell admitted during his deposition that he in fact had no basis to conclude

that the numbers in the annual reports represent individual investigations, rather than individual

CRs. (Ex. A at 204:15-20). Rather, he was relying exclusively on Meza’s conclusion that the data

provided was referring to individual investigations, despite his own acknowledgement and




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understanding that CPD classified this data by the primary allegation/and each data point was one

individual CR. (Ex. A at 205:21-206:16; 316:11-15). Accordingly, the sample size reviewed by

Finnell fell far below 9.6% as stated in his report, and was actually closer to .9%, making it far

from statistically significant.

        Finnell also testified that the data related to Defendant Officers’ CRs was wrong in his

report. Specifically, Finnell’s report states that his analysis considered a “subset of 158 CRs for

defendant officers from Area 5.” (Ex. A at 9). However, during his deposition, he conceded that

this was inaccurate, and that it should have been 158 allegations against defendant officers from

Area 5. (Ex. A at 444:2-9). Moreover, Finnell admitted that these 158 allegations against the

defendant officers were from CRs that spanned their entire careers, not just the 1995-1998 time

frame of dataset of CRs. (Ex. at 444:18-445:2). This error directly impacts Finnell’s calculations

pertaining to his “outlier analysis,” as he was comparing allegations against non-defendant officers

for a span of four years to allegations against defendant officers for their entire career which, as

explained more fully below, when done correctly shows that none of the defendant officers fell

into his “outlier” category.”

        Finally, Finnell relies upon the fact that the City required a signed affidavit from each

complainant in order to support his opinion “the City failed to investigate anonymous complaints.”

(Ex. A at 55). However, in 1998, there was no such requirement that each complaint include a

signed affidavit. Rather, the Uniform Peace Officers’ Disciplinary Act was not amended to include

an affidavit requirement until 2003. See 50 ILCS 725/3.8(b). During his deposition, Finnell

conceded that his entire opinion related to the requirement of a signed affidavits for each complaint

was included in his report in error and admitted that the entire paragraph should be stricken from

his report. (Ex. B at 424:8-425:11). Finnell testified that the inclusion of this paragraph was an




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“inadvertent inclusion from another report” though he could not identify which report it came

from. (Ex. B 424:14-18).

            c. There is no reliable evidence to support Finnell’s Outlier analysis.

        Finnell opines that CPD’s “failure to discipline and supervise” Defendant Officers created

a sense of impunity and facilitated, encouraged and allowed abuses. (Ex. A at 69). In support of

this opinion, Finnell relies on Meza’s calculations to determine that several Defendants Officers

fall into the category of “statistical outlier” which Finnell defines as statistically, an officer was an

“outlier from the group based on the number of allegations that they had” during a certain time

period. (Ex. B at 432:5-19). Finnell’s report claims that if an officer received nine or more

allegations arising out of a CR initiated between 1995-1998, then they would be statistical outliers.

(Ex. A at 447:1-7). However, in response to Defendants’ expert report, Plaintiffs produced

Finnell’s rebuttal report. In that rebuttal report, Finnell conceded that the outlier analysis set forth

in his original report was done incorrectly, and further conceded that once done properly, none of

the Defendant Officers were outliers in the 1995-1998 timeframe. (See Finnell Rebuttal Report,

attached as Ex. K, at 33). Accordingly, Finnell’s outlier analysis entirely has no relevance to any

of his opinions.

        If that was not enough, by conceding that the analysis was conducted improperly, Finnell

cannot demonstrate by a preponderance that this opinion is based on sufficient facts and data or

that he applied reliable principles and methodology, as required under Fed. R. Evid. 702.

        Moreover, Finnell testified that Meza used the “interquartile rule” to determine whether a

Defendant Officer fell into the statistical outlier category. (Ex. B at 432:20-24). However, he does

not know why she used this method or even if there was another method that could have been used

to conduct this analysis. (Ex. B at 433:4-11; Ex. C at 227:8-20). In fact, when asked directly,




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Finnell testified that he had no idea how Meza reached the conclusion that “officers with nine of

more allegations” fell into a statistical outlier category. (Ex. B at 433:17-434:10). Finnell’s

outliner analysis opinions depend entirely on the assumption that the facts and data supporting the

calculations are accurate, reliable, and trustworthy. Now that he has conceded that the analysis

was inaccurate, unreliable and not trustworthy because the calculations included allegations

against Defendant Officers from their entire career, rather than just those initiated between 1995-

1998, (Ex. A at 444:18-444:2), the analysis and the opinions that stem from them can be

disregarded. More importantly however, this error, which Finnell did not catch until after he

tendered his original report, after he was deposed and after he was provided with Defendants’

expert report illustrates the peril of allowing an expert to simply parrot the work actually done by

another expert, who is not offered for testimony and cross-examination. See generally Hi-Tech

Pharms. Inc. v. Dynamic Sports Nutrition, LLC., 2021 WL 2185699 (Georgia Northern District

Court 2021). All of Finnell’s opinions suffer from this same flaw and must be barred.

           d. The facts and data contained within Finnell’s report are not quantitatively or
              qualitatively sufficient.

       Even if the data were trustworthy and reliable – which they are not – Finnell’s testimony

is inadmissible because Plaintiffs cannot demonstrate that the facts and data that he relied upon

were quantitatively or qualitatively sufficient. Gopalratnam, 877 F.3d at 781. In the quantitative

sense, to satisfy Daubert, the facts and data must be sufficient for the expert to employ the

methodology. Id. For instance, the Seventh Circuit has provided the example that if an economic

expert provided an opinion about an average gross sales price, the opinion “could not be reliably

supported by evidence relating to sales to only one customer ‘because a single observation does

not provide a sufficient basis for calculating an average.’” Id.




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        Here, Finnell considered only the data that Plaintiffs provided to him and analyzed it as if

it was representative of CPD as a whole by conflating the number of “investigations” and

"allegations" contained within a CR with the number of individual CR files opened against

members of CPD from 1995-1998. The spreadsheet provided by Plaintiffs’ counsel purports to be

based on the information distilled from 349 CR files produced by the City, that included allegations

against Area 5 Detectives 6. (Ex. B at 178:7-14). Pursuant to his report, these 349 CR files contain

1,983 individual investigations. (Id). By conflating the number of “investigations” with the

number of CR files opened, Finnell’s report purports to have analyzed 9.6% of the CRs opened

against members of CPD from 1995-1998. However, Finnell admits that CPD Annual reports

reflect the number of individual CR files opened from 1995-1998, not allegation counts. (Ex. A at

205:21-206:16; 316:11-15). When reviewing the CPD Annual Reports, the total amount of CRs

for the time frame was 38,504 CRs.                 (See, CPD Annual Reports from 1991-1995,

https://home.chicagopolice.org/statistics-data/statistical-reports/annual-reports/; Ex. B at 290:1- ;

311:9-14; 314:22-315:2). Accordingly, the dataset of CRs reviewed by Plaintiff’s counsel and

distilled into the spreadsheet, accounts for .91 percent of the total CRs investigated by CPD during

the 1995-1998 period.

        As to whether the facts and data are qualitatively sufficient, the question is whether Finnell

relied on the kinds of facts on which experts in her field would reasonably rely. Gopalratnam, 877

F.3d at 781. Finnell testified that a statistically significant sample is a sample that is large enough

from the population that you are analyzing to render an opinion applicable to the entire population

so that you do not have to analyze the entire population. Though Finnell believes that 349 CR files



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  Notably, on the second day of his deposition, Finnell changed course, and stated that the data set
represented 556 officers of the Chicago Police Department, rather than Area 5 Detectives. (Ex. A at 431:2-
6).


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is a statistically significant sample, this is based solely on Meza’s determination which Finnell

cannot articulate. (Ex. B at 309:10-23). Moreover, despite acknowledging that the tables on which

these opinions rely on contained significant errors, Finnell maintained that the ultimate opinions

did not change based on Meza’s say so. (Ex. A at 198:4-199:200:8). Finnell offers no scientific

or statistical explanation as to how or why such a limited set of data could be sufficient for him to

opine on the City’s sustained rates or any other disciplinary policy.

            e. Finnell’s reliance on Knight and Meza means there is no way to determine the
               methodology used in preparation of the report.

        Finnell readily admits that he relied heavily on the work of Knight and Meza when forming

his opinions and drafting his report, so much so, that he felt it necessary to include their credentials

within the body of his report. (Ex. B at 143:16-22; 150:8-21). In fact, while neither Knight or

Meza are disclosed as an expert or author in this case, Knight testified in a subsequent Guevara

related case that him, Meza and Finnell worked from a “shared document” while drafting the

original report, that was ultimately produced in this litigation, and others. (See, Deposition of

Knight in Iglesias v. Guevara, attached hereto as Ex. J, at 152:15-22; 155:8-14). Yet, when

questioned about what specific portions of the report were written or prepared by Knight, Finnell

was instructed not to answer. (Ex. B at 146:5-11). As for the portions of the report that were

drafted by Meza, Finnell testified that she prepared the charts and graphs that are contained within

the report, and that she provided him the “steps or process” that she used to reach her

determinations, however, none of that is included within the report. (Ex. B at 187:5-10).

        At best, it appears that the three co-authored the report, having all substantially participated

in his preparation. This sort of “joint collaboration” by experts violates the purpose of Fed. R. Civ.

P. 26, which requires that an expert report contain the basis and reasons for the expert’s opinions,

as well as the data or other information considered by the witness. United States ex. rel. Barron v.



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Deloitte & Touche, LLP, 2008 WL 7136868, *5 (Texas Western Dist. Court 2008). Given the

testimony of Finnell, there is simply no way to determine the methodologies utilized, tests

conducted, opinions rendered (with a basis and reasons therefore), and sections in the expert report

prepared by Finnell himself as compared to those prepared by Knight and/or Meza. And, as

illustrated by the errors in the outlier analysis, Finnell has no ability to catch errors in their work.

        While an expert is permitted to use assistants in formulating his expert opinion, issues tend

to arise when those assistants “aren’t merely gofers or data gatherers but exercise professional

judgment that is beyond the expert’s ken”. Dura Auto Sys. Of Ind. V. CTS Corp., 285 F.3d 609,

612-613 (7th Cir. 2002). Here, Finnell lacks the basic understanding of the methods and reasons

underlying the data and information supplied by Meza and Knight, and as such, was “virtually

precluded” from being able to give an assessment of the validity of the data through cross-

examination.” TK-7 Corp. v. Est. of Barbouti, 993 F.2d 722, 732 (10th Cir. 1993). Accordingly,

his testimony should be barred in its entirety.

IV.     FINNELL’S OPINIONS ARE NOT RELEVANT OR HELPFUL TO THE JURY

        Expert testimony that is not helpful to the jury is excluded. Fed. R. Evid. 702. And Rule

403 excludes testimony where the potential prejudice of the evidence outweighs the probative

value. In large part, Finnell’s report is a one-sided proclamation on the history of the disciplinary

process within the CPD, that is completely lacking in any evidentiary support.

        In this case, Plaintiffs’ claim is that the City failed to discipline its police officers for

misconduct, thereby encouraging and even allowing the alleged abuses affecting Plaintiffs, and

they offer Finnell as support. Yet, Finnell did not opine that a single CR should have been sustained

that was not, nor does he make any affirmative determination that misconduct occurred in any CR

file that he reviewed. His opinions, therefore, are wholly disconnected from the claim at issue in




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the case. See Owens v. Auxilium Pharmaceuticals, Inc., 895 F.3d 971, 973 (7th Cir. 2018) (expert

opinion testimony does not help the jury understand the evidence or decide an issue in the case

when it does not fit the facts of the case).

        Presumably, Plaintiffs intend to argue that CPD’s “low” sustained rate (which he lacks

reliable evidence to support) is reason enough to speculate that some nefarious conduct on the part

of the detectives. Yet Finnell concedes that he did not conduct any comparison between CPD’s

sustained rates during the period of 1995-1998 and other documented sustained rates during the

same time frame for similarly situated departments. Accordingly, no such comparison is relevant

to the jury.

        Finally, Plaintiffs’ reliance on Finnell’s outlier analysis to support the notion that the City

should have had notice that its policies were unconstitutional is inherently irrelevant. Not only

does Finnell concede that the analysis was done incorrectly, he concedes that he was not aware of

the outlier analysis, as conducted within his report, being used by any police departments in the

1995-1998 time frame, and he cannot point to any department that has used or currently uses the

analysis in the way Meza did in order to support his opinions in this case. (Ex. C at 250:17-21,

254:14-23).

        If the jury must decide whether CPD’s polices caused Plaintiffs to suffer constitutional

violations, then, each of Finnell’s speculative theories add no value. See Kirk v. Clark Equip. Co.,

991 F.3d 865, 876 (7th Cir. 2021) (finding ample reason to question the soundness and care which

expert arrived at his conclusions where opinions were supported by expert’s mere speculation);

Hunt v. Dart, 754 F. Supp. 2d 962, 971-72 (N.D. Ill. 2010) (expert opinions based on nothing more

than speculation will not help the jury); Ortega v. United States, No. 16-cv-8402, 2021 WL

4477896, *9 (N.D. Ill. Sep. 30, 2021) (excluding expert testimony where expert could merely




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testify that the defendants’ actions can or could have caused injury were “too speculative to pass

muster under Daubert”)

       Finnell’s opinions are also inadmissible pursuant to Rule 403 because of their potential to

confuse the jury. Rather than establish any culpability on the part of the City for its disciplinary

practices, which is the purpose they should serve, Finnell’s opinions fault the City for failing to

meet the best practices as defined by the standards of today. Finnell does not cite to any evidence,

research paper, or policy standard from 1995-1998 in support of his opinions.

                                          CONCLUSION

               For the foregoing reasons, Defendant, City of Chicago, requests that Anthony W.

Finnell’s expert opinions be barred in their entirety.

       WHEREFORE, Defendant, City of Chicago, Respectfully Request This Honorable Court

Grant Its Daubert Motion To Bar Opinions Of Anthony W. Finnell in its entirety, and for any other

relief as this Court deems just and reasonable.

 Dated: April 8, 2024                               Respectfully Submitted,

                                                    by: /s/ Eileen E. Rosen
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